        Case 2:19-cv-02339-ER Document 24 Filed 10/20/20 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HINDOLUI KENNIE,              :             CIVIL ACTION
                              :             NO. 19-2339
          Petitioner,         :
     v.                       :
                              :
WARDEN OF GEORGE HILL         :
CORRECTIONAL FACILITY, et al.,:
                              :
          Respondents.        :


                                    ORDER

            AND NOW, this 20th day of October, 2020, upon

consideration of Hindolui Kennie’s Petition for Writ of Habeas

Corpus (ECF No. 2), the Respondents’ answer and response in

opposition (ECF Nos. 13 and 21), and the Report and

Recommendation of U.S. Magistrate Judge Carol Sandra Moore Wells

(ECF No. 22), it is hereby ORDERED that:

            1. The Report and Recommendation is APPROVED and

               ADOPTED; 1

            2. The Petition for a Writ of Habeas Corpus is

               DISMISSED, without an evidentiary hearing; 2 and



1     Petitioner was released from prison in February 2020, and he has not
received a copy of the Report and Recommendation. However, it is the
Petitioner’s job to inform the court of any address change, and he has not
done so since his release in February. Consequently, there is no way for the
court to mail him a copy of the Report and Recommendation.
2     Petitioner challenges his 2019 conviction on 2018 charges related to
terroristic threats, among other things. However, Petitioner’s claims are
procedurally defaulted and he has neither demonstrated cause and prejudice
for the default, nor presented any new, reliable evidence of his actual
innocence to excuse the default. Consequently, the court cannot review his
procedurally defaulted claims on the merits.
Case 2:19-cv-02339-ER Document 24 Filed 10/20/20 Page 2 of 2



   3. Petitioner has neither shown denial of a federal

      constitutional right, nor established that

      reasonable jurists would disagree with this court’s

      procedural disposition of his claims. Consequently,

      a certificate of appealability is DENIED.

   AND IT IS SO ORDERED.



                     __/s/ Eduardo C. Robreno_____
                     EDUARDO C. ROBRENO, J.
